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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X              11/4/2020
                                                                       :
XIAOCHUN GAO,                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-CV-2515 (JPC)
                  -v-                                                  :
                                                                       :          ORDER
SAVOUR SICHUAN INC. et al.,                                            :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

         It is hereby ORDERED that the telephone conference scheduled for November 4, 2020 at

11:00 a.m. is hereby ADJOURNED to November 17, 2020 at 10:00 a.m. At the scheduled time,

counsel for all parties should call (866) 434-5269, access code 9176261.

        SO ORDERED.

Dated: November 4, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
